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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

Joseph Sinigaglio,                                           Civil File No. 13-cv-00762 SRN/JJG

                Plaintiff,

vs.                                                                       STIPULATION OF
                                                                DISMISSAL WITH PREJUDICE
Diversified Adjustment Service, Inc.,

                Defendant.


       IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, by

their respective undersigned attorneys, that the above-entitled action by Plaintiff may be, and

hereby is dismissed on its merits with prejudice, without costs, disbursements or attorney’s fees

to any party.

                                        MARTINEAU, GONKO & VAVRECK, PLLC

Dated: 5/29/13                          By       s/Mark L. Vavreck
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Dated: 5/22/13                      By           s/Susan E. Gustad
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